             Case 3:21-cv-00066-EMC Document 18 Filed 05/12/21 Page 1 of 2



1
     Todd M. Friedman (SBN 216752)
2    Adrian R. Bacon (SBN 280332)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3
     21550 Oxnard St. Suite 780,
4    Woodland Hills, CA 91367
5
     Phone: 877-206-4741
     Fax: 866-633-0228
6    tfriedman@toddflaw.com
7     abacon@ toddflaw.com
     Attorneys for Plaintiff
8

9                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
10

11                                                       ) Case No.
12    SIDNEY NAIMAN, individually                        )
      and on behalf of all others similarly              ) 3:21-cv-00066-EMC
13
      situated,                                          )
14    Plaintiffs                                         )
      vs.                                                ) NOTICE OF SETTLEMENT
15
      SUNTERNAL CONSTRUCTION,                            )
16    INC.; and Does 1-10, inclusive, and                )
17    each of them                                       )
      Defendants                                         )
18
                                                         )
19
           NOW COMES THE PLAINTIFF by and through their attorney to
20
     respectfully notify this Honorable Court that this case has settled as to all named
21
     Defendants. Plaintiff requests that this Honorable Court vacate all pending
22
     hearing dates and allow sixty (60) days with which to file dispositive
23

24
     documentation. This Court shall retain jurisdiction over this matter until fully

25
     resolved.

26   Dated: May 12, 2021              Law Offices of Todd M. Friedman, P.C.
27
                                                              By: s/ Adrian R. Bacon
28
                                                                    Adrian R. Bacon



                                       Notice of Settlement
             Case 3:21-cv-00066-EMC Document 18 Filed 05/12/21 Page 2 of 2



1
                             CERTIFICATE OF SERVICE
2

3    Filed electronically on May 12, 2021, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on May 12, 2021, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Adrian R. Bacon
10    Adrian R. Bacon
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                       Notice of Settlement
